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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
  ROBERT TENGES and
  REBECCA TENGES


 __________________________________
 (Plaintiff Name(s))

                                 SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.                   ROBERT, TENGES
                Plaintiff(s) _________________________________________________________
                (“Plaintiff(s)”) brings this action (check the applicable designation):

                        ✘      On behalf of [himself/herself];

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                               In representative capacity as the __________________, on behalf
                               of     the      injured      party,     (Injured      Party’s   Name)
                               ___________________.

        2.      Injured Party is currently a resident and citizen of (City,                    State)
                 Cedarburg         WI
                _________________________ and claims damages as set forth below.

                                                         —OR—

                Decedent died on (Month, Day, Year) ____________________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      Rebecca Tenges
                _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                                                      Cedarburg           WI
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                Cedarburg                WI
                _________________________.



    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers:
                       Pfizer Inc.; GlaxoSmithKline LLC; GlaxoSmithKline (America) Inc.




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                b. Generic Manufacturers:




                c. Distributors:




                d. Retailers:




                e. Repackagers:




                f. Others Not Named in the MPIC:




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    C. JURISDICTION AND VENUE


       7.       Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:

                ______________
                Eastern        District of _______
                                           WI



       8.       Jurisdiction is proper upon diversity of citizenship.


                                      II.     PRODUCT USE


        9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                        ✘       By prescription

                         ✔      Over the counter

        10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                              Jan   1983
                (month, year) _______________    Jan   2003
                                              to _______________.



                                   III.     PHYSICAL INJURY


        11.     As a result of the Injured Party’s use of the medications specified above, [he/she]
                was diagnosed with the following specific type of cancer (check all that apply):
    Check all                       Cancer Type                              Approximate Date of
      that                                                                       Diagnosis
     apply
       ✘        BLADDER CANCER                                            Apr        7      2006

                BRAIN CANCER

                BREAST CANCER

                COLORECTAL CANCER




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    Check all                     Cancer Type                            Approximate Date of
      that                                                                   Diagnosis
     apply
                ESOPHAGEAL/THROAT/NASAL CANCER

                INTESTINAL CANCER

                KIDNEY CANCER

                LIVER CANCER

                LUNG CANCER

                OVARIAN CANCER

                PANCREATIC CANCER

                PROSTATE CANCER

                STOMACH CANCER

                TESTICULAR CANCER

                THYROID CANCER

                UTERINE CANCER

                OTHER CANCER:

                DEATH (CAUSED BY CANCER)




        12.      Defendants, by their actions or inactions, proximately caused the injuries to
                 Plaintiff(s)




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                         IV.     CAUSES OF ACTION ASSERTED

       13.   The following Causes of Action asserted in the Master Personal Injury Complaint
             are asserted against the specified defendants in each class of Defendants
             enumerated therein, and the allegations with regard thereto are adopted in this Short
             Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
       ✘           I      STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       ✘          II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

                          STRICT PRODUCTS LIABILITY – MANUFACTURING
       ✘          III
                          DEFECT

       ✘          IV      NEGLIGENCE – FAILURE TO WARN

       ✘          V       NEGLIGENT PRODUCT DESIGN

       ✘          VI      NEGLIGENT MANUFACTURING

       ✘         VII      GENERAL NEGLIGENCE

       ✘         VIII     NEGLIGENT MISREPRESENTATION

       ✘          IX      BREACH OF EXPRESS WARRANTIES

       ✘          X       BREACH OF IMPLIED WARRANTIES

                          VIOLATION OF CONSUMER PROTECTION AND
                          DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                  XI
                          statute below:
                          _____________________________________________________

       ✘         XII      UNJUST ENRICHMENT

       ✘         XIII     LOSS OF CONSORTIUM

                 XIV      SURVIVAL ACTION

                 XV       WRONGFUL DEATH

                 XVI      OTHER: _______________________________________________

                 XVII     OTHER: _______________________________________________

                XVIII     OTHER: _______________________________________________



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             If Count XVI, Count XVII or Count XVIII is alleged, additional facts supporting the
             claim(s):
                   s)




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                                                 V.     JURY DEMAND


             14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                           VI.        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

      inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

      action, jointly and severally to the full extent available in law or equity, as requested in the Master

      Personal Injury Complaint.

Attorney 1 Signature:__________________________
                     /s/Rebecca Fredona                        Attorney 1 Signature:__________________________
Attorney 1 Print:______________________________
                 Rebecca Fredona                               Attorney 1 Print:______________________________
Attorney 2 Signature:__________________________                Attorney 2 Signature:__________________________
Attorney 2 Print:______________________________                Attorney 2 Print:______________________________
Firm: ______________________________________
      MOLL LAW GROUP                                           Firm: ______________________________________
Address 1: __________________________________
           22 W Washington, 15th Floor                         Address 1: __________________________________
Address 2: __________________________________                  Address 2: __________________________________
City: ____________________________
      Chicago, IL 60602                                        City: ____________________________
State: ___________________________
       IL                                                      State: ___________________________
Zip: _____________
     60602                                                     Zip: _____________
Email: _____________________________________
       rfredona@molllawgroup.com                               Email: _____________________________________
Phone: ______________________
        312.462.1700                                           Phone: ______________________




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